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FoR THE DISTRICT oF MARYLAND '
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UNITEI) sTATEs oF AMERICA * 111 i1i» 1111311~'1‘
: CRIMINAL No. gLF/g\/_Q;_O/?%WF,
v. _"' ’¢¢“'-'--_~ ~.i `. tr
' 1 * (Theft of Government Property,
GREGORY DWAYNE CUSTER, * 18 U.S.C. §641; Aiding and Abeaing, 18
* Usc§n
I)efendants. *
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CRIMINAL INFORMATION

 

The United States Attorney for the District of Maryland charges that:

Between on or about August 10, 2018, and Novernber l, 2018, in the District of Maryland,
the defendant,

GREGORY I)WAYNE CUSTER,

willfully and knowingly did embezzle, steal, purloin, and converted for his use and the use of
another, and Without authority, Sold, conveyed, and disposed of any record, voucher, money, and
thing of value of the United States and any department and agency thereofj and any property made
or being made under contract for the United States and any department and agency thereof, to Wit,
_the defendant stole, and aided and abetted the theft of, personal electronics merchandise belonging
to the United States Navy With a total value of at least approximately $62,1]1.

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18 U.s.C. § 2

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Robert K. Hur
Unjted States Attorney

